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 7

 8
                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
     MICHAEL WHITTINGTON,                    )
11         Plaintiff,                        ) Case No.: 2:21-cv-00272-JPR
12                                           )
           vs.                               ) ORDER FOR AWARD OF EAJA
13
                                             ) FEES
14   KILOLO KIJAKAZI,                        )
15
     Acting Commissioner of Social           )
     Security,                               )
16             Defendant.                    )
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      Case 2:21-cv-00272-JPR Document 21 Filed 10/28/21 Page 2 of 2 Page ID #:49



 1   Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
 2
           IT IS ORDERED that attorney’s fees under the Equal Access to Justice Act
 3
     (“EAJA”) are awarded in the amount TWO THOUSAND ONE HUNDRED
 4
     DOLLARS ($2,100.00) as authorized by 28 U.S.C. § 2412(d), and subject to the
 5
     terms and conditions of the Stipulation.
 6

 7
     DATED: October 28, 2021
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 9
                                                  HON. JEAN P. ROSENBLUTH
10                                                United States Magistrate Judge
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